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                     IN THE UNITED STATES DISTRICT COURT

                   FOR THE WESTERN DISTRICT OF WISCONSIN

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NEIL GAIMAN, MARVELS
AND MIRACLES, LLC.,
                                                                 ORDER
                            Plaintiffs,
                                                                02-cv-48-bbc
              v.

TODD McFARLANE, TODD
McFARLANE PRODUCTIONS, INC.,
TMP INTERNATIONAL, INC.,
McFARLANE WORLDWIDE, INC., and
IMAGE COMICS, INC.,

                            Defendants.

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       A telephone status conference was held in this case on October 5, 2011. Plaintiffs

participated by Allen Arntsen, Jeffrey Simmons and Kenneth Levin. Defendants participated

by James Grimsley and Todd Smith. Also participating was Christine Cwiertny.

       Counsel advised the court that the case might settle within two weeks. If it does not,

it will proceed before the accountant.

       A followup conference will be held by telephone on October 19, 2011 at 8:30 a.m.

Mr. Smith is to initiate the conference call. If complete settlement has been accomplished



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by then and is on file with the court, the conference will be canceled.

       Entered this 5th day of October, 2011.

                                          BY THE COURT:
                                          /s/
                                          BARBARA B. CRABB
                                          District Judge




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